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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re:                                                        Chapter 7

    BAYOU STEEL BD HOLDINGS, L.L.C., et                           Case No. 19-12153 (KBO)
    al., 1                                                        (Jointly Administered)
              Debtors.


    GEORGE L. MILLER, in his capacity as
    Chapter 7 Trustee for the jointly administered
    bankruptcy estates of Bayou Steel BD
                                                                  Adv. No. 21-51013 (KBO)
    Holdings, L.L.C., et al.,
                              Plaintiff,
              v.

    BLACK DIAMOND CAPITAL
    MANAGEMENT, L.L.C., et al.,
                              Defendants.

                NOTICE OF SERVICE OF (I) TRUSTEE’S
        FIRST SET OF INTERROGATORIES DIRECTED TO BLACK
 DIAMOND DEFENDANTS; AND (II) TRUSTEE’S FIRST SET OF REQUESTS FOR
PRODUCTION OF DOCUMENTS DIRECTED TO BLACK DIAMOND DEFENDANTS

                   PLEASE TAKE NOTICE that on the 12th day of October, 2023, true and correct

copies of the (i) Trustee’s First Set of Interrogatories Directed to Black Diamond Defendants

and the (ii) Trustee’s First Set of Requests for Production of Documents Directed to Black

Diamond Defendants were served on the individual(s) listed below as and in the manner

indicated:




1
  The Debtors in these chapter 7 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Bayou Steel BD Holdings, L.L.C. (1984), BD Bayou Steel Investment, LLC (1222), and BD LaPlace,
LLC (5783).


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 Dated: October 13, 2023             PACHULSKI STANG ZIEHL & JONES LLP


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